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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Case No.: 21-CR-79 (BAH)
KEVIN JAMES LYONS,                           :
                                             :
               Defendant.                    :

                                    NOTICE OF ERRATA

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby notifies the Court of an error in its Sentencing Memorandum. ECF 89. In its

memorandum, the United States stated that the photograph that Lyons stole from the personal

office of the Speaker of the House was a gift to the Speaker from the late Congressman John Lewis.

While preparing for the sentencing hearing in this matter, the United States has learned that the

photograph in question was a gift from the Speaker’s former photographer and not from

Congressman Lewis himself. This change does not, however, diminish the unique, sentimental,

and non-monetary value of the photograph.

       According to a senior member of her staff, the photograph was one of the Speaker’s favorite

photographs in her personal office and it was one of the first items that the staff realized was

missing after they returned to the office on January 6, 2021, following the riot. This photograph

was taken by the Speaker’s staff photographer in 2019 during a trip to Africa that the Speaker

organized and in which Congressman Lewis participated. The purpose of this trip was to

commemorate the 400th year since Africans had first passed through the Gate of No Return in

Ghana on their way to enslavement in North America. The photograph was signed by the

photographer and had been given to the Speaker on September 25, 2020, two months after

Congressman Lewis’ death and shortly before the photographer left her office. The photograph,



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although not a gift from one of the subjects of the photograph, was of extreme sentimental and

non-monetary value and was, in no uncertain terms, not just another photograph.

                                       *       *      *

                                            Respectfully submitted,
                                            MATTHEW M. GRAVES
                                            United States Attorney
                                            DC Bar No. 481052

                                    By:      s/ Sean P. McCauley _____
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